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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 Hernandez


                               Plaintiff,                   Case No.
                                                               Civ. 06951   (KMK)(       )
        -V-
                                                            CASE MANAGEMENT AND
Yonkers Brewing Company LLC et al                           SCHEDULING ORDER


                               Defendant.


KENNETH M. KARAS, District Judge:

                       At the conference before the Court held on _____________________this
                                                                   12/2/2021
Case Management Plan and Scheduling Order was adopted in accordance with Rules 16-26(f) of the
Federal Rules of Civil Procedure.


1.            This case (is) (is not) to be tried to a jury [circle one].

2.            No additional parties may be joined except with leave of the Court.

3.            Amended pleadings may not be filed except with leave of the Court.

4.            Initial disclosure pursuant to Rule 26(a)(1), Fed. R. Civ. P., will be completed not
              later than _____________________
                              12/16/2021              [absent exceptional circumstances, within
              fourteen (14) days of the date of the parties’ conference pursuant to Rule 26(f)].

5.                                                                 4/1/2022
              All fact discovery is to be completed no later than ______________________      [a
              period not to exceed 120 days unless the Court finds that the case presents unique
              complexities or other exceptional circumstances].

6.            The parties are to conduct discovery in accordance with the Federal Rules of Civil
              Procedure and the Local Rules of the Southern District of New York. The
              following interim deadlines may be extended by the parties on consent without
              application to the Court, provided the parties meet the fact discovery completion
              date in paragraph 6 above:

              a.                                                                    1/3/2022
                      Initial requests for production of documents to be served by __________.
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          b.     Interrogatories to be served by ___________________.
                                                  1/3/2022

                                                    2/25/2022
          c.     Depositions to be completed by __________________.

                 i.      Unless the parties agree or the Court so orders, depositions are not
                 to be held until all parties have responded to initial requests for document
                 production.

                 ii.     There is no priority in deposition by reason of a party’s status as
                 plaintiff or defendant.

                 iii.   Unless the parties agree or the Court so orders, non-party
                 depositions shall follow initial party depositions.
                                                                  1/3/2022
          d.     Requests to Admit to be served no later than ___________________.

7.        All expert disclosures, including reports, production of underlying documents and
          depositions are to be completed by:
                                                  n/a
          a.     Expert(s) of Plaintiff(s) _____________________.

          b.                                   n/a
                 Expert(s) of Defendant(s)___________________ .

8.        Motions: All motions and applications shall be governed by the Court’s
          Individual Practices, including pre-motion conference requirements. Summary
          Judgment or other dispositive motions are due at the close of discovery. Pursuant
          to the undersigned’s Individual Practices, the parties shall request a pre-motion
          conference in writing at least two (2) weeks prior to this deadline.

9.        All counsel must meet for at least one hour to discuss settlement not later than
          two weeks following the close of fact discovery.

10.       a.     Counsel for the parties have discussed holding a settlement conference
                 before a Magistrate Judge.

          b.     The parties (request) (do not request) a settlement conference before a
                 United States Magistrate Judge [circle one].

11.       a.     Counsel for the parties have discussed the use of the Court’s Mediation
                 Program.

          b.     The parties (request) (do not request) that the case be referred to the
                 Court’s Mediation Program [circle one].


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12.       a.     Counsel for the parties have discussed the use of a privately-retained
                 mediator.

          b.     The parties (intend) (do not intend) to use a privately-retained mediator
                 [circle one].

13.       The parties shall submit a Joint Pretrial Order prepared in accordance with the
          undersigned’s Individual Practices and Rule 26(a)(3), Fed.R.Civ.P. If this action
          is to be tried before a jury, proposed voir dire, jury instructions and a verdict form
          shall be filed with the Joint Pretrial Order. Counsel are required to meet and
          confer on jury instructions and verdict form in an effort to make an agreed upon
          submission.

14.       Parties have conferred and their present best estimate of the length of trial is
            2-3 days          .




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TO BE COMPLETED BY THE COURT:


15.           [Other directions to the parties:]

There will be no extensions of the deadline for completion of discovery past the date
discovery is scheduled to be completed in this Order without the permission of the Court,
nor should counsel assume that any extensions will be granted. Counsel may seek
permission for extension of interim discovery deadlines from the magistrate judge to whom
the case is referred. Counsel may seek permission for an extension of the deadline for
completion of discovery past the date discovery is scheduled to be completed in this Order
only after consenting to allowing the magistrate judge to handle the case for all purposes.

16.           The next Case Management Conference is scheduled for
                        .


              The movant’s pre-motion letter is due ____________________;

              The non-movant’s response is due _______________________.



SO ORDERED.

DATED:        White Plains, New York




                                                              KENNETH M. KARAS
                                                         UNITED STATES DISTRICT JUDGE




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